           Case 1:19-cv-03267-JTR                    ECF No. 20      filed 10/01/20       PageID.2361 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                   for thH_                                             FILED IN THE
                                                                                                                    U.S. DISTRICT COURT
                                                      Eastern District of Washington                          EASTERN DISTRICT OF WASHINGTON


                             TIM M.,
                                                                                                               Oct 01, 2020
                                                                     )                                             SEAN F. MCAVOY, CLERK
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 1:19-CV-03267-JTR
              ANDREW M. SAUL,                                        )
       COMMISSIONER OF SOCIAL SECURITY,                              )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment, ECF No. 16, is GRANTED IN PART
u
              Defendant’s Motion for Summary Judgment, ECF No. 17, is DENIED.
              The matter is REMANDED to the Commissioner for additional proceedings.
              Judgment entered for Plaintiff.


This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge                               JOHN T. RODGERS                               on a motion for
      summary judgment.


Date: 10/1/2020                                                            CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Tonia Ramirez
                                                                                           %\ Deputy Clerk

                                                                            Tonia Ramirez
